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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
  RAS Citron, LLC
  Authorized Agent for Secured Creditor
  130 Clinton Road, Lobby B, Suite 202
  Fairfield, NJ 07004
  Telephone: 973-575-0707
  Facsimile: 973-404-8886

  Harold Kaplan (HK0226)

  In re.                                                  Case No.:       19-15321-ABA

  JEROME L. HENRY                                         Chapter:         7
  a/k/a JEROME HENRY,
                                                          Hearing Date: June 4, 2019
  Debtor.                                                 Judge:      Andrew B. Altenburg Jr.

             NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

                                   HEARING DATE AND TIME:
                                     June 4, 2019 at 10:00am

                    ORAL ARGUMENT IS REQUESTED IN THE EVENT
                           OPPOSITION IS TIMELY FILED
 TO:
  Debtor-                  Debtors’ Attorney-       Trustee-                   U.S. Trustee-
  Jerome L. Henry          Ronald E. Norman         Joseph Marchand            US Dept of Justice
  1812 Sicklerville Rd     Law Office of Ronald     117-119 West Broad         Office of the US Trustee
  Sicklerville, NJ         E. Norman                St.                        One Newark Center Ste
  08081                    Washington               PO Box 298                 2100
                           Professional Campus      Bridgeton, NJ 08302        Newark, NJ 07102
                           II
                           901 Route 168
                           Suite 407A
                           Turnersville, NJ
                           08012




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           PLEASE TAKE NOTICE that on June 4, 2019, at 10:00a.m., or as soon thereafter as

 counsel may be heard, RAS Citron, LLC, attorneys for NATIONSTAR MORTGAGE LLC

 D/B/A MR. COOPER, the within creditor ("Creditor"), shall move before the Honorable Judge

 Andrew B. Altenburg Jr., United States Bankruptcy Judge, at Mitchell H. Cohen U.S.

 Courthouse 400 Cooper Street, 4th Floor Camden, N.J. 08101 Courtroom 4B, for an Order

 pursuant to 11 U.S.C. §362(d)(1) granting such Creditor relief from automatic stay or, for costs

 and disbursements of this action, and for such other and further relief as to the Court may seem

 just and proper.

           PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned

 shall rely on the accompanying Certification in Support of Motion for Relief. A proposed form

 of Order is also being submitted. A Memorandum of Law has not been submitted because the

 issues raised by the Motion are not extraordinary or unusual necessitating the filing of legal

 briefs.

           PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the

 Motion shall: (i) be in writing; (ii) specify with particularity the basis of the objection; and (iii)

 be filed with the CLERK, UNITED STATES BANKRUPTCY COURT, U.S. Post Office

 and Courthouse 401 Market Street Camden, NJ 08101, and simultaneously served on

 Secured Creditor's counsel, RAS Citron, LLC, 130 Clinton Road, Lobby B, Suite 202

 Fairfield, NJ 07004, so as to be received no later than seven (7) days before the return date set

 forth herein.

           PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,

 the Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a) and the relief

 requested may be granted without a hearing.

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        PLEASE TAKE FURTHER NOTICE that counsel hereby requests oral argument in

 accordance with D.N.J. LBR 9013-1 (f) in the event opposition papers are timely filed.

  DATED: 5/13/2019
                                                   RAS Citron, LLC
                                                   130 Clinton Road, Lobby B, Suite 202
                                                   Fairfield, NJ 07004
                                                   Telephone: 973-575-0707
                                                   Facsimile: 973-404-8886
                                                   By: /s/ _Harold N. Kaplan___
                                                   Harold Kaplan, Esquire
                                                   Bar ID: HK-0226
                                                   Email: hkaplan@rasnj.com




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